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                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION

ZAIA RASHO & ROSEMARY MORO,                              )
                                                         )
                 Plaintiffs,                             )
                                                         )            No. 24 C 3336
        v.                                               )
                                                         )            Judge Sara L. Ellis
MEMBERSELECT INSURANCE                                   )
COMPANY d/b/a AAA and a/k/a                              )
THE SUTO CLUB GROUP,                                     )
                                                         )
                 Defendant.                              )

                                         OPINION AND ORDER

        Plaintiffs Zaia Rasho and Rosemary Moro bring this suit against Defendant

MemberSelect Insurance Company (“MemberSelect”), alleging that MemberSelect breached its

insurance contract with Plaintiffs and committed improper claims practices in violation of 215

Ill. Comp. Stat. 5/155. Now, MemberSelect moves to dismiss Plaintiffs’ Section 155 claim

(Count II) for failure to state a claim under Federal Rule of Civil Procedure 12(b)(6). Because

Plaintiffs’ current allegations do not adequately plead improper practices, the Court dismisses

Plaintiffs’ Section 155 claim without prejudice.

                                              BACKGROUND 1

        Plaintiffs purchased homeowners’ insurance from MemberSelect for their home in Indian

Creek, Illinois. MemberSelect advertised that its homeowner insurance policies “protect

consumers’ homes against certain identified perils and events and that [MemberSelect] would

provide coverage to consumers in the event that their homes suffer damage caused by such



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 The Court takes the facts from Plaintiffs’ complaint and presumes them to be true for the purpose of resolving
MemberSelect’s motion to dismiss. See Phillips v. Prudential Ins. Co. of Am., 714 F.3d 1017, 1019–20 (7th Cir.
2013).


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identified perils, such as damages caused by trees, shrubs plants and lawns.” Doc. 1 ¶ 5. Since

the effective date of the home insurance policy, Plaintiffs have paid all premiums for their policy

in full and on time.

       On approximately April 5, 2023, wind and water infiltration damaged Plaintiffs’

property, through no fault of Plaintiffs. Soon after the damage, Plaintiffs filed a claim with

MemberSelect under their home insurance policy, and MemberSelect provided Plaintiffs with a

claim number. On an unspecified date, MemberSelect “conducted an inspection on Plaintiffs’

property to assess the damages.” Id. ¶ 13. Plaintiffs independently had estimates and inspections

conducted on the damages to their property as well.

       MemberSelect has not paid Plaintiffs any proceeds for the damages to Plaintiffs’ home.

MemberSelect has not provided Plaintiffs with “valid and reasonable reasons as to why it did not

pay” Plaintiffs proceeds under their homeowner insurance policy. Id. ¶ 16.

                                      LEGAL STANDARD

       A motion to dismiss under Rule 12(b)(6) challenges the sufficiency of the complaint, not

its merits. Fed. R. Civ. P. 12(b)(6); Gibson v. City of Chicago, 910 F.2d 1510, 1520 (7th Cir.

1990). In considering a Rule12(b)(6) motion, the Court accepts as true all well-pleaded facts in

the plaintiff’s complaint and draws all reasonable inferences from those facts in the plaintiff’s

favor. Kubiak v. City of Chicago, 810 F.3d 476, 480–81 (7th Cir. 2016). To survive a Rule

12(b)(6) motion, the complaint must assert a facially plausible claim and provide fair notice to

the defendant of the claim’s basis. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009); Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 555 (2007); Adams v. City of Indianapolis, 742 F.3d 720, 728–29 (7th

Cir. 2014). A claim is facially plausible “when the plaintiff pleads factual content that allows the




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court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”

Iqbal, 556 U.S. at 678.

                                            ANALYSIS

       MemberSelect argues that the Court should dismiss Plaintiffs’ Section 155 claim because

Plaintiffs’ complaint does not assert sufficient facts to establish such a claim. Plaintiffs respond

that under the liberal pleading standard of Rule 12(b)(6), the facts set forth in the complaint

suffice. The Court agrees with MemberSelect that Plaintiffs have not submitted sufficient facts

to state a Section 155 claim.

       Section 155 provides “an extracontractual remedy to policy-holders whose insurer’s

refusal to recognize liability and pay a claim under a policy is vexatious and unreasonable.”

Phillips v. Prudential Ins. Co. of Am., 714 F.3d 1017, 1023 (7th Cir. 2013) (quoting Cramer v.

Ins. Exch. Agency, 174 Ill. 2d 513, 519 (1996)). In relevant part, Section 155 states:

               In any action by or against a company wherein there is in issue the
               liability of a company on a policy or policies of insurance or the
               amount of the loss payable thereunder, or for an unreasonable
               delay in settling a claim, and it appears to the court that such action
               or delay is vexatious and unreasonable, the court may allow as part
               of the taxable costs in the action reasonable attorney fees, other
               costs, plus [additional penalties].

215 Ill. Comp. Stat. 5/155(1). “Simply pleading that [the defendant] knowingly and intentionally

refused to provide insurance coverage and that [the defendant’s] refusal ‘was and continues to be

vexatious and unreasonable,’ without some modicum of factual support, is insufficient to

plausibly suggest that [the plaintiff] is entitled to relief under the statute.” 9557, LLC v.

Travelers Indem. Co. of Conn., No. 15-cv-10882, 2016 WL 464276, at *3 (N.D. Ill. Feb. 8,

2016) (alterations in original) (quoting Scottsdale Ins. Co. v. City of Waukegan, No. 07 C 64,

2007 WL 2740521, at *2 (N.D. Ill. Sept. 10, 2007)).




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       Plaintiffs do not allege sufficient facts to state a Section 155 claim. Plaintiffs assert that

MemberSelect’s conduct constituted improper claims practices by:

               e. Failing to acknowledge with reasonable promptness pertinent
               communications with Plaintiff with respect to his claim arising
               under the home insurance policy;

               f. Failing to adopt and implement reasonable standards for the
               prompt investigations and settlement of claims arising under its
               policies;

               g. Not attempting in good faith to effectuate prompt, fair and
               equitable settlement of Plaintiffs’ claim;

               h. Compelling the Plaintiffs to file this lawsuit to recover amounts
               due under the home insurance policy;

               i. Failing and refusing to properly investigate the claim[.]

Doc. 1 ¶ 25. The complaint does not allege any facts regarding the processing of Plaintiffs’

claim, the results of MemberSelect’s inspection, or communications between the parties.

       Without these factual allegations, Plaintiffs’ claims are conclusory and insufficient to

state a plausible claim for relief. See Bao v. MemberSelect Ins. Co., No. 21 C 04119, 2022 WL

1211509, at *3 (N.D. Ill. Apr. 25, 2022) (“Conclusory allegations that an insurer acted

vexatiously or unreasonably, ‘without some modicum of factual support,’ are insufficient to state

a plausible claim for relief under section 155.” (citation omitted)). Paragraphs (e), (f), and (g)

“amount to little more than simple recitations of the various codes that [Plaintiffs] allege[ ]

[MemberSelect] violated.” 9557, LLC, 2016 WL 46276, at *4; see also 215 Ill. Comp. Stat.

5/154.6 (acts that constitute improper claims practices include “(b) Failing to acknowledge with

reasonable promptness pertinent communications with respect to claims arising under its

policies; (c) Failing to adopt and implement reasonable standards for the prompt investigations

and settlement of claims arising under its policies; (d) Not attempting in good faith to effectuate




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prompt, fair and equitable settlement of claims submitted in which liability has become

reasonably clear.”). Paragraphs (h) and (i)—“[c]ompelling the Plaintiffs to file this lawsuit to

recover amounts due under the home insurance policy” and “[f]ailing and refusing to properly

investigate the claim”—when stated without additional facts, amount to merely conclusory

allegations about MemberSelect’s allegedly vexatious and unreasonable conduct. See 9557,

LLC, 2016 WL 46276, at *4.

       While the complaint does indicate that over a year has passed since the damage to

Plaintiffs property occurred, Plaintiffs failed to provide the Court with any dates regarding when

they filed their claim or the MemberSelect inspection took place. Further, Plaintiffs have not

pleaded any facts regarding the results of the MemberSelect inspection, the extent of

MemberSelect’s investigation, whether the parties have communicated about Plaintiffs’ claim,

and whether MemberSelect has provided a reason for not paying. Cf. GCI Consol., LLC v. Allied

Prop. & Cas. Ins. Co., No. 23-cv-3807, 2024 WL 3226578, at *2 (N.D. Ill. June 28, 2024)

(finding that allegations that the insurer failed to interview relevant witnesses and thoroughly

investigate the damage sufficed to state a Section 155 claim). “Whether a delay is vexatious or

unreasonable depends heavily on the circumstances.” Bao, 2022 WL 1211509, at *4; see also

Abbey Ridge LLC v. Addison Ins. Co., 416 F. Supp. 3d 760, 774 (S.D. Ill. 2019) (“[A] delay in

settling a claim does not violate Section 155 if the delay results from a bona fide dispute

regarding coverage.”). Thus, the Court cannot infer, solely from the approximate date of

damage, that MemberSelect has unreasonably delayed resolving Plaintiffs’ claim. See Edwards

v. Depositors Ins. Co., No. 20-cv-1074, 2021 WL 25360, at *5 (S.D. Ill. Jan. 4, 2021) (“The

conduct the plaintiffs plead in the Complaint is mostly confined to the failure of Depositors to




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pay what the policy called for. There is no indication why it did not pay, so there is nothing from

which it could be reasonably inferred that the reasons were vexatious and unreasonable.”).

       Finally, the Court does not find Plaintiffs’ contention that they need discovery to reveal

the details of MemberSelect’s alleged wrongdoing persuasive. While discovery may reveal

additional information about MemberSelect’s handling of Plaintiffs’ claim, the lack of any basic

facts about the handling of the claim, which Plaintiffs should possess without discovery, prevents

the Court from reaching that stage. See Indep. Tr. Corp. v. Stewart Info. Servs. Corp., 665 F.3d

930, 935 (7th Cir. 2012) (“To meet [the motion to dismiss] plausibility standard, the complaint

must supply ‘enough fact to raise a reasonable expectation that discovery will reveal evidence’

supporting the plaintiff’s allegations.” (quoting Twombly, 550 U.S. at 556)). Plaintiffs failed to

provide any facts on the alleged delay in communications and investigation such that the Court

can draw the inference that MemberSelect’s conduct entitles Plaintiffs to relief under Section

155. See Scottsdale Ins. Co., 2007 WL 2740521, at *2 (finding that Waukegan did not plead

sufficient facts even when it included a timeline of the parties’ communications).

                                         CONCLUSION

       For the foregoing reasons, the Court grants MemberSelect’s motion to dismiss [12]. The

Court dismisses the Section 155 claim (Count II) without prejudice.




Dated: January 8, 2025                                       ______________________
                                                             SARA L. ELLIS
                                                             United States District Judge




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